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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF INDIANA
                           SOUTH BEND DIVISION


UNITED STATES OF AMERICA,                )
                                         )
            vs.                          )      CAUSE NO. 3:08-CR-65 RM
                                         )
TRAVIS GREEN (01)                        )


                                     ORDER
      No objections have been filed to the magistrate judge’s findings and

recommendations upon a plea of guilty issued on September 18, 2008 [Doc. No.

57]. Accordingly, the court now ADOPTS those findings and recommendations,

ACCEPTS defendant Travis Green’s plea of guilty, and FINDS the defendant guilty

of Count 1 of the Indictment, in violation of 18 U.S.C. § 922(j).

      SO ORDERED.

      ENTERED: October 7, 2008




                                          /s/ Robert L. Miller, Jr.
                                      Chief Judge
                                      United States District Court
